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 9                         UNITED STATES DISTRICT COURT
10            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
11      HUI YU                                    Case Number: 2:19-cv-01788-SVW-KK
12
                                     Plaintiff,
13
             v.                                   ORDER OF DISMISSAL
14
        AMERICAN GENERAL LIFE INSURANCE           District Court Judge: Stephen V. Wilson
15      COMPANY and DOES 1 TO 50, inclusive,      Magistrate Judge: Alicia G. Rosenberg
16
                                   Defendants.
17
                                                  Action Filed:       September 18, 2019
18                                                Trial Date:         May 11, 2020
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                                    [PROPOSED] ORDER
     Case 5:19-cv-01788-SVW-KK Document 34 Filed 04/01/20 Page 2 of 2 Page ID #:149



 1             Having read and considered the Parties Joint Stipulation, and good cause appearing
 2    therefore, IT IS HEREBY ORDERED that this matter is dismissed with prejudice with
 3    each Party to bear its own costs. All further pre-trial and trial dates are taken off calendar.
 4
 5             IT IS SO ORDERED
 6
 7             Dated:   April 1, 2020
                                               By:
 8                                                   Honorable Stephen V. Wilson
 9                                                   United States District Judge
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       1195121.7                                     1
                                         [PROPOSED] ORDER
